Case 2:18-cv-06893-JLS-FFM Document 88 Filed 04/11/22 Page 1 of 1 Page ID #:1814

                      UNITED STATES COURT OF APPEALS
                                                                       FILED
                             FOR THE NINTH CIRCUIT
                                                                      APR 11 2022
                                                                     MOLLY C. DWYER, CLERK
                                                                      U.S. COURT OF APPEALS




   STEPHANIE CLIFFORD, AKA Stormy                No. 20-55880
   Daniels,
                                                 D.C. No. 2:18-cv-06893-JLS-FFM
                 Plaintiff - Appellant,
                                                 U.S. District Court for Central
     v.                                          California, Los Angeles

   DONALD J. TRUMP,                              MANDATE

                 Defendant - Appellee.


          The judgment of this Court, entered March 18, 2022, takes effect this date.

          This constitutes the formal mandate of this Court issued pursuant to Rule

  41(a) of the Federal Rules of Appellate Procedure.

          Costs are taxed against the appellant in the amount of $31.80.

                                                 FOR THE COURT:

                                                 MOLLY C. DWYER
                                                 CLERK OF COURT

                                                 By: Quy Le
                                                 Deputy Clerk
                                                 Ninth Circuit Rule 27-7
